219 F.2d 708
    UNITED STATES of America, Appellant,v.Claude J. HUPP et al.
    No. 15234.
    United States Court of Appeals, Eighth Circuit.
    January 6, 1955.
    
      Appeal from the United States District Court for the District of Minnesota.
      George E. MacKinnon, U. S. Atty., and Alex Dim, Asst. U. S. Atty., St. Paul, Minn., for appellant.
      Cummins, Cummins, Hammond &amp; Ames, St. Paul, Minn., for appellees.
      PER CURIAM.
    
    
      1
      Appeal from District Court, 123 F. Supp. 385, dismissed, on stipulation of parties.
    
    